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           12                                       UNITED STATES DISTRICT COURT

           13                                    NORTHERN DISTRICT OF CALIFORNIA

           14                                            SAN FRANCISCO DIVISION

           15      SC Innovations, Inc.,                               CASE NO. 3:18-CV-07440-JCS
           16                              Plaintiff,                  DEFENDANTS’ REPLY IN SUPPORT OF
                                                                       MOTION TO DISMISS SECOND
           17             v.                                           AMENDED COMPLAINT
           18      Uber Technologies, Inc; Rasier LLC; Rasier-         Hearing:
                   CA LLC; Rasier-PA LLC; Rasier-DC LLC;               Date:      April 3, 2020
           19      Rasier-NY LLC; Uber-USA LLC,                        Time:      9:30 a.m.
                                                                       Place:     Courtroom G, 450 Golden Gate
           20                              Defendants.                            Avenue, San Francisco, CA
                                                                       Judge:     Honorable Joseph C. Spero
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               1                         MEMORANDUM OF POINTS AND AUTHORITIES
               2   I.     INTRODUCTION
               3          SCI seeks to avoid dismissal by characterizing the parties’ disagreements regarding the
               4   sufficiency of its Second Amended Complaint (“SAC,” dkt. 73) as factual disputes. But this is not a
               5   summary judgment motion. For the purpose of its motion to dismiss, Uber assumes, as the Court and
               6   the parties must, that SCI’s factual allegations are true. But pleading “requires more than labels and
               7   conclusions,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007), and SCI has introduced few truly
               8   new facts in its latest amended complaint. Moreover, those facts do not make any material change to
               9   the picture painted by SCI’s prior complaints. Instead, the SAC relies on conclusions (i.e, Lyft
           10      “cannot” compete) and theories (i.e., Uber has the power to price discriminate) and buzz words
           11      (“network effects,” “data”) that cannot cure the deficiencies in SCI’s prior complaints.
           12             In dismissing the prior complaint, this Court provided a detailed roadmap of what SCI needed
           13      to do in order to plead a viable Section 2 case. The SAC altogether misses the mark. SCI has now had
           14      three full and fair chances to plead the facts that would be required to state a claim under the governing
           15      law here. “As the Supreme Court has emphasized, its insistence on specificity of facts is warranted
           16      before permitting a case to proceed into costly and protracted discovery in an antitrust case, especially
           17      where, as here, the potential expense of discovery is obviously great.” Somers v. Apple, Inc., 729 F.3d
           18      953, 966 (9th Cir. 2013) (citing Twombly, 550 U.S. at 557-59). Even under Rule 12(b)(6)’s generous
           19      standard, which stacks the deck in SCI’s favor, its claims are deficient as a matter of law. The SAC
           20      should be dismissed with prejudice.
           21      II.    SCI FAILS TO PLEAD A CLAIM UNDER SHERMAN ACT § 2
           22             A.      SCI Fails to Plead That Uber Has The Unilateral Market Power Required To
           23                     State A Section 2 Claim

           24             In order to state a claim under Section 2, a critical element that SCI must plead is Uber’s

           25      possession of monopoly power or a dangerous probability thereof. Order Granting Mot. to Dismiss

           26      [First] Am. Compl. (“Order,” dkt. 71) at 12, 15. Specifically, SCI must plausibly allege that Uber

           27      “controls enough of the market that ‘by restricting its own output, it can restrict marketwide output

           28      and, hence, increase marketwide prices.’” Order at 12 (quoting Rebel Oil Co., Inc. v. Atl. Richfield


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               1   Co., 51 F.3d 1421, 1434 (9th Cir. 1995)). SCI’s prior complaint, however, did not plead that Uber

               2   could increase marketwide prices by restricting marketwide output. Order at 13-14. Based on SCI’s

               3   representations that it could cure this failing, the Court granted leave to amend to allow SCI to attempt

               4   to “allege that Uber has market power because it can raise prices by restricting output and that Lyft

               5   could not respond by increasing its own output.” Order at 15; see also id. at 14. But SCI has been

               6   unable to deliver on its assurances on either count. As discussed below, the SAC should be dismissed

               7   with prejudice.

               8                   1.      SCI’s Amendments Do Not Cure Its Failure to Plead That Uber Can Raise
                                           Overall Market Prices by Restricting Output
               9

           10              SCI did not amend its complaint to allege any means by which Uber could achieve (or come

           11      dangerously close to achieving) marketwide monopoly pricing by restricting overall output. Instead,

           12      SCI espoused a new theory of market power, pleading that Uber has “from an early stage” possessed

           13      the power to “engage in price discrimination.” 1        SAC ¶ 84.      According to the SAC, “price

           14      discrimination” is the “primary” means for Uber to achieve “supra-competitive” prices and profits. Id.

           15      ¶ 108. By amending to add allegations regarding Uber’s “use of price discrimination,” SCI contends

           16      that its complaint now “adequately alleges market power.” Pl.’s Opp. to Defs.’ Mot. to Dismiss Second

           17      Am. Compl. (“Opp.” dkt 77) at 4. On its face, however, SCI’s “power to price discriminate” theory

           18      does not address the relevant legal question of whether Uber has the means to raise marketwide prices

           19      by restricting overall market output.      Further, SCI’s theory cannot be reconciled with directly

           20      controlling authority from the Supreme Court and the Ninth Circuit.

           21              To start with, price discrimination is simply not the same as marketwide monopoly pricing—

           22      and the divergence between the two is particularly pronounced when the alleged relevant market has

           23      two sides. While SCI pays lip service to “the Supreme Court’s instruction [in Ohio v. American Express

           24      Co., 138 S. Ct. 2274 (2018) (hereafter “Amex”)] to analyze the [relevant two-sided] market as a whole,”

           25      Opp. at 7, its price discrimination theory is a piecemeal theory about limited power to affect only some

           26      prices on one side of the market. SCI’s theory of supracompetitive pricing is that some “passengers

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                        SCI alleges that Uber’s access to “data” facilitates this price discrimination. SAC ¶¶ 80, 84-85.
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               1   must endure discriminatory pricing tactics,” SAC ¶ 12 (emphasis added), but passengers account for

               2   just a single side of the alleged relevant market. Amex, 138 S. Ct. at 2287 (“As an initial matter, the

               3   plaintiffs’ argument … wrongly focuses on only one side of the two-sided credit-card market”). Since

               4   even a uniform “price increase on one side of a two-sided transaction platform cannot by itself

               5   demonstrate an anticompetitive exercise of market power,” Amex, 138 S. Ct. at 2287, SCI’s one-sided

               6   theory of fluctuating passenger prices necessarily falls short of pleading monopoly power. SCI alleges

               7   only that Uber can charge transient “surge” prices or otherwise can raise prices only selectively for

               8   some passengers at some times in some locations in some circumstances. SAC ¶¶ 84-85. Moreover,

               9   the factors that SCI identifies as governing Uber’s “dynamic” pricing in any individual case—“ability

           10      to pay,” “price sensitivity” and demand-supply balance, id. ¶ 85—are plainly capable of generating

           11      lower as well as higher prices. Even viewing the passenger side in isolation, this fails to plead the

           12      requisite “power to increase [marketwide] prices above competitive levels, and sustain them for an

           13      extended period.” Rebel Oil, 51 F.3d 1434.

           14              This defect alone discredits SCI’s allegation of Section 2 market power, but SCI’s error is

           15      further compounded by its failure to account for the effect of price discrimination on drivers’

           16      compensation on the “other” side of the market. A monopoly price in a two-sided transaction market

           17      cannot be determined by “looking at only one side of the platform in isolation.” Amex, 138 S. Ct. at

           18      2287. Raising the price on side A of a two-sided market can “decrease[] the value of the platform to

           19      side B,” leading to a risk that “participants on side B leave due to this loss in value.” Id. at 2281.

           20      Accordingly, a price increase on one side (e.g., passengers) may be balanced by additional

           21      compensation to the other side (e.g., drivers). The SAC ignores that this is exactly what happens under

           22      surge or “dynamic” pricing since drivers receive the bulk of any higher passenger price. 2 Striking such

           23      an “optimal balance of the prices charged on each side of the platform” is not monopoly pricing but

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                        SCI contends it has accounted for the drivers’ side of the market by means of allegations (carried
           26           over from its last complaint) that Uber has increased commission rates in some locations. Opp. at
                        7 (citing SAC ¶¶ 105, 106-07, 109). But the SAC relies on discriminatory increases in passenger
           27           prices as the “primary” means of monopoly pricing, id. ¶ 108, and raising passenger prices
                        automatically raises compensation for drivers. Id. ¶ 39 (“the balance of the passenger’s payment
           28           is remitted to the Driver” after the TNC subtracts “a percentage of the Passenger’s fare”).
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               1   rather “is essential for two-sided platforms … to compete with their rivals.” Amex, 138 S. Ct. at 2281.

               2   SCI thus proves too much when it asserts that “if the market were competitive, Uber would have used

               3   its increased profits from Passengers and spent them on increased payment to Drivers,” Opp. at 8, since

               4   sharing the returns from higher passenger prices with drivers is exactly what is accomplished by the

               5   “price discrimination” that SCI challenges. In short, SCI’s passenger price discrimination theory

               6   comprehensively fails to identify any ability to impose overall monopoly pricing on either side (much

               7   less both sides) of the relevant market and so fails to plead the requisite market power under Section 2.

               8           If any possible doubt remained, it would be extinguished by the unequivocal direction from the

               9   Ninth Circuit and the Supreme Court that “[s]upracompetitive pricing entails a restriction in output.”

           10      Brooke Grp., Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 233 (1993); Amex, 138 S. Ct.

           11      at 2288 (“Market power is the ability to raise price profitably by restricting output” (original emphasis;

           12      internal quotation marks omitted)); Rebel Oil, 51 F.3d at 1434 (“A predator has sufficient market power

           13      when, by restricting its own output, it can restrict marketwide output and, hence, increase marketwide

           14      prices”). This Court required SCI to amend its complaint to address this specific issue. But the only

           15      reference to overall market output in the SAC is the allegation that “[p]rice discrimination is a means

           16      by which Uber can exact monopoly profits without reducing overall market output.” SAC ¶ 91

           17      (emphasis added). This says it all. Now regretting its candor, SCI seeks to evade this admission by

           18      branding it as a “purported concession,” Op. at 7 n.3, but this is deeply disingenuous. 3 In any event,

           19      the fact that SCI’s discrimination theory eschews any marketwide price effect means that it likewise

           20      dispenses with any need for overall output restriction. The law does not permit such an approach.

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           22           To the extent that SCI now argues that the ride-hailing market’s robust growth will mask any output
                        restriction, Op. at 7 n.3, it merely echoes the dissent in Amex, 138 S. Ct. at 2302 (“because the
           23           relevant question is a comparison between reality and a hypothetical state of affairs, to require
                        actual proof of reduced output is often to require the impossible—tantamount to saying that the
           24           Sherman Act does not apply at all”), and confirms the fatal shortcomings in its case. Alleging that
                        a defendant merely has the power to raise prices when market output is growing does not suffice to
           25           plead market power. A price increase cannot give rise to a “rational inference” of
                        “supracompetitive pricing” when “output is expanding at the same time prices are increasing,
           26           [since] rising prices are equally consistent with growing product demand.” Brooke Grp., 509 U.S.
                        at 237; accord Amex, 138 S. Ct. at 2288-89. That is true even if “[o]ne could speculate, for example,
           27           that the rate of segment growth would have tripled, instead of doubled” absent the price increase.
                        Brooke Grp., 509 U.S. at 234.
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               1           SCI attempts an end run around the glaring legal defects in its theory by claiming that merely

               2   alleging the power to price discriminate is enough to plead the market power required for a section 2

               3   claim. Opp. at 5-6. SCI is wrong as a matter of settled law and sound antitrust policy. 4 It is black

               4   letter law that “antitrust law is concerned only with ‘substantial’ market power.” AD/SAT v. Associated

               5   Press, 181 F.3d 216, 228 (2d Cir. 1999); see also In re Brand Name Prescription Drugs Antitrust Litig.,

               6   186 F.3d 781, 786-87 (7th Cir. 1999) (“market power is found in many highly competitive markets”);

               7   Bacchus Industries, Inc. v. Arvin Industries, Inc., 939 F.2d 887, 894 (10th Cir. 1991) (“Monopoly

               8   power is … commonly thought of as substantial market power”). Even if it is assumed that the “ability

               9   to price discriminate” may show some market power, a “showing of [defendant’s] ‘market power’ is

           10      not itself sufficient to prove that [defendant] possesses ‘monopoly power.’” Kolon Indus. v. E.I.

           11      DuPont de Nemours & Co., 748 F.3d 160, 174 (4th Cir. 2014). The decisions that SCI cites, Opp. at

           12      4, do not hold to the contrary and do not even address price discrimination or market power under

           13      Section 2 of the Sherman Act. 5 On this point, the Ninth Circuit has spoken clearly. Proof of the degree

           14      of market power needed to engage in price discrimination “does not prove … the degree of market

           15      power to raise the concerns of the Sherman Act.” Rebel Oil, 51 F.3d at 1442 (“[plaintiff’s] evidence

           16      cannot, as a matter of law, be the basis for inferring market power in its attempted monopolization

           17      claim”); see also Rebel Oil Co., Inc. v. Atl. Richfield Co., 146 F.3d 1088, 1091 (9th Cir. 1998)

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                        Moreover, to rule otherwise would impose antitrust regulation on a multitude of industries using
           20           “dynamic” pricing to fill perishable seats—a “time-honored business strategy,” Mount Hamilton
                        Partners LLC v. Groupon, Inc., No. C 12–1700 SI, 2014 WL 1047408 at *2 (N.D. Cal. March 14,
           21           2014). “For example, even tiny airlines in intense competition with larger rivals price discriminate
                        in filling their seats.” Hovenkamp, FEDERAL ANTITRUST POLICY (5th ed. 2016) § 16.2 at 767 (for
           22           price discrimination to occur, “the amount of market power need not be great”).
           23       5
                        In Coal Exporters Ass’n of the U.S., Inc. v. U.S., 745 F.2d 76 (D.C. Cir. 1984), the D.C. Circuit
                        was not construing antitrust law but rather addressing the propriety of a regulatory exemption under
           24           the Interstate Commerce Act. Id. at 92 n.20 (discussion of price discrimination and antitrust law
                        texts “not meant to imply” conformance to antitrust standards). In SCI’s second case, the Seventh
           25           Circuit dealt with a claim of collusion under Section 1 of the Sherman Act, In re Brand Name
                        Prescription Drugs Antitrust Litig., 186 F.3d at 783, which requires a lesser showing of market
           26           power than under Section 2, as SCI admits. See Opp. at 6 (citing Eastman Kodak Co. v. Image
                        Tech. Servs., 504 U.S. 452, 481 (1992)). Even under Section 1, no presumption of market power
           27           arises from price discrimination since “it is generally recognized that [price discrimination] also
                        occurs in fully competitive markets.” Illinois Tool Works Inc. v. Independent Ink, Inc., 547 U.S.
           28           28, 44-45 (2006).
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               1   (“Although [plaintiff] had not shown that [defendant] had sufficient market power for an attempted

               2   monopolization claim, for price discrimination [plaintiff] needed only to prove that [defendant]

               3   possessed a level of market power to threaten oligopolization”). As this Court has recognized, it “is

               4   not free to depart from the Ninth Circuit’s holding.” Order at 14.

               5           This leaves SCI back where it was with its last complaint—arguing that alleged barriers to entry

               6   and an ostensibly high market share suffice to plead substantial market power. Opp. at 5-7. But the

               7   Court found these same allegations insufficient when dismissing the First Amended Complaint

               8   (“FAC,” dkt. 60). Order at 3-5, 12. No different result is called for now. See Rebel Oil, 51 F.3d at

               9   1441 (“Market power cannot be inferred solely from the existence of entry barriers and a dominant

           10      market share”). SCI argues that “evidence of the defendant’s large market share, ‘with no readily

           11      available substitutes’ was ‘sufficient to survive summary judgment’” in Kodak (Opp. at 6, citing 504

           12      U.S. at 481) but SCI has conceded the existence of a readily available substitute here: Lyft. Courts

           13      “ought … to decline to find sufficient market power to satisfy the requirement for the monopolization

           14      offense” when “an alleged monopolist faces substantial competition from a known competitor.”

           15      Colorado Interstate Gas Co. v. Natural Gas Pipeline Co. of America, 885 F.2d 683, 696 n.23 (10th

           16      Cir. 1989) (citation omitted). That is what the Ninth Circuit held in Metro Mobile CTS, Inc. v.

           17      NewVector Communications, Inc., 892 F.2d 62, 63 (9th Cir. 1989), ruling that the defendant there

           18      “lacked the requisite monopoly power to support a section two claim” even though it controlled 100%

           19      of the market because it could not exclude a competitor with a guaranteed foothold in a growing market.

           20      This conclusion was reinforced by the existence of state price regulation which “further precluded

           21      [defendant] from having the power to control prices.” 6 Id. That factor is present here as well, as this

           22      Court has already held. Order at 21 n.9.

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                        SCI argues that this holding was based on the state action immunity doctrine, citing the opinion of
                        the district court in Metro Mobile, see Opp. at 15, but that is incorrect. The Ninth Circuit did “not
           27           rely on that portion of the [district court’s] opinion” and found it “unnecessary to reach the issue of
                        state action immunity” because “the record is clear that [defendant] lacked the requisite monopoly
           28           power to support a section two claim.” 892 F.2d at 63-64.
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               1           In sum, SCI has staked its Section 2 case on the theory that Uber has the power to engage in

               2   passenger-side price discrimination. That theory cannot save the day for SCI without disregarding

               3   directly binding authority. That authority compels dismissal with prejudice.

               4                   2.     SCI’s Amendments Do Not Cure Its Failure To Plead Lyft’s Lack of
                                          Capacity to Increase Output in Response to Monopoly Pricing
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               6           Uber’s inability to raise marketwide prices makes it immaterial whether “Lyft could not respond

               7   [to monopoly pricing] by increasing its own output.” Order at 15. But SCI’s amended allegations do

               8   not cure the defects in its prior complaint and this failure is an additional (and independent) ground for

               9   dismissal. Under Rebel Oil, the critical legal question is whether Lyft is “unable to expand [its] output

           10      in response to supracompetitive pricing.” 51 F.3d at 1438; see also id. at 1439 (“plaintiff must show

           11      that … existing competitors lack the capacity to expand their output to challenge the predator’s high

           12      price”); accord Am. Prof’l Testing Serv., Inc. v. Harcourt Brace Jovanovich Legal & Prof’l Publ’ns,

           13      Inc., 108 F.3d 1147, 1154 (9th Cir. 1997). In other words, SCI must plead that plausible “barriers to

           14      expansion” would exist in an environment of monopoly pricing. 7 Id. at 1441. SCI has not done so.

           15              In the first place, SCI has focused on the wrong issue: barriers to entry rather than barriers to

           16      expansion. See Opp. at 8-9 (“‘[N]etwork effects and scale are formidable barriers to entry’”; “Uber’s

           17      ‘entrenched buyer preferences’ and ‘economies of scale’ … are exactly the kind of barriers to entry

           18      that are relevant”). Allegations of barriers to entry do not suffice to show market power when it comes

           19      to incumbent rivals like Lyft. Rebel Oil, 51 F.3d at 1441 (“Market power cannot be inferred solely

           20      from the existence of entry barriers”); see also id. at 1439 (“In evaluating entry barriers, we focus on

           21      their ability to constrain not ‘those already in the market, but . . . those who would enter but are

           22      prevented from doing so.’” (emphasis added; citation omitted)). When barriers to expansion are

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                        This is a burden that must be met at the pleading stage. See, e.g., Med Vets Inc. v. VIP Petcare
           24           Holdings, Inc., No. 18-cv-02054-MMC, 2019 WL 1767335, at *7 (N.D. Cal. April 22, 2019);
                        McCabe Hamilton & Renny, Co. v. Matson Terminals, Inc., No. 08-00080 JMS/BMK, 2008 WL
           25           2437739, at *9 (D. Haw. June 17, 2008); Axiom Advisers & Consultants, Inc. v. Sch. Innovations
                        and Advocacy, Inc., NO. CIV. 2:05-CV-02395-FCD-PAN, 2006 U.S. Dist. LEXIS 11404, at *21-
           26           22 (E.D. Cal. Mar. 20, 2006); nSight, Inc. v. Peoplesoft, Inc., No. C-04-3836 MMC, 2005 U.S. Dist.
                        LEXIS 24847, at *3-4 (N.D. Cal. Aug. 5, 2005), aff’d 296 Fed. Appx. 555, 557-58 (9th Cir. 2008);
           27           Elecs. For Imaging, Inc. v. Coyle, No. C 01-4853MJJ, C 05-0619 MJJ, 2005 WL 1661958, at *5
                        (N.D. Cal. July 14, 2005); Townshend v. Rockwell Int'l Corp., No. C 99-0400 SBA, 2000 U.S. Dist.
           28           LEXIS 5070, at *35-36 (N.D. Cal. Mar. 28, 2000).
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               1   lacking, “‘it matters little that high barriers to entry exist to help that firm maintain a monopoly power

               2   it could never achieve.’” Id. at 1441 (quoting Indiana Grocery, Inc. v. Super Valu Stores, Inc., 864

               3   F.2d 1409, 1415 (7th Cir. 1989)). The SAC shows no cognizable barriers to expansion by Lyft.

               4           “Prior expansion by competitors would suggest that the defendant during that expansion lacked

               5   the market power to control marketwide output in the first place.” Rebel Oil, 51 F.3d at 1441 (an

               6   absence of barriers to expansion can be shown by “undisputed evidence indicating that competitors

               7   have expanded output in the recent past”). That is exactly what the SAC pleads. The “recent example”

               8   from Austin, SAC ¶ 89, vividly illustrates Lyft’s ability to expand output since, after voluntarily exiting

               9   for regulatory reasons, “Lyft returned to the market” and—starting over from a zero base—quickly

           10      recaptured a 30% market share. SAC ¶¶ 89, 143. Nationally, Lyft started from a zero position in 2012

           11      and obtained an aggregate share of at least 25% (SAC ¶ 87) within a few short years—“about the time

           12      [defendant] is supposed to have acquired market power.” Rebel Oil, 51 F.3d at 1442. That national

           13      share is now “approximately 30%” and in the majority of the eleven alleged geographic “markets” in

           14      the SAC, Lyft has as much as a 35-40% market share. 8 Id. ¶¶ 87-88, 133-43 (alleging that “Uber and

           15      Lyft collectively account for nearly 100% of all rides booked” and identifying six geographic markets

           16      where non-Uber market share is 35-40%). This reflects substantial expansion in Lyft’s market share

           17      but market share figures greatly understate the extent to which Lyft has constantly been expanding

           18      output given that the total size of the market has exploded since the advent of ride hailing. Even holding

           19      a constant slice of the pie involves a continuous expansion of output when the size of the pie is growing

           20      by leaps and bounds. SCI offers no plausible reason for its conclusory assertion that Lyft would be

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           25           SCI pleads that Sidecar, with a mere 10-15% share in a few markets, SAC ¶ 51, “served as a check
                        on Uber’s anticompetitive price increases.” Id. ¶ 127. 9        SCI reliance on “‘Lyft’s own
           26           financial losses which it must recoup,’” Opp. at 8 (citing SAC ¶ 92), is (again) unavailing since
                        undercutting a monopoly price with a competitive price does not yield losses but rather achieves
           27           both profits and valuable gains in market share (which, as discussed below, generate further gains
                        due to network effects).
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               1   unable to continue to expand its output in response to output contraction and supracompetitive pricing

               2   by Uber. 9

               3           SCI’s core position is that “most importantly … network effects constrict Lyft.” Opp. at 8. But

               4   as already noted, SCI deems network effects to be (for these purposes, irrelevant) barriers to entry that

               5   “insulate incumbent providers” like Lyft. SAC ¶ 83 (emphasis added). Consistent with the concession

               6   of SCI’s counsel that “Lyft could increase output ‘in theory,’” Order at 15, network effects operate by

               7   definition to reward output expansion by incumbents. “In other words, the value of the services that a

               8   two-sided platform provides increases as the number of participants on both sides of the platform

               9   increases.” Amex, 138 S. Ct. at 2281. That is exactly what the SAC pleads. Thus, if Uber were to

           10      reduce output, it would lose the benefit of network effects, see, e.g., SAC ¶¶ 73-75, while Lyft would

           11      gain those benefits by expanding output. Because of such network effects, “[g]aining market share

           12      puts [Lyft] in a better position to gain more market share.” Id. ¶ 74 (internal quotation marks omitted).

           13      Similarly, the benefits of greater share enable an incumbent “to expand more rapidly and effectively”

           14      into new cities. Id. ¶ 79. Properly accounting for such network effects is a mandatory aspect of

           15      analyzing a two-sided transaction market “as a whole.” Amex, 138 S. Ct. at 2287. “Any other analysis

           16      would lead to mistaken inferences of the kind that could chill the very conduct the antitrust laws are

           17      designed to protect.” Id. (cleaned up).

           18               Stripped of the unsupported conclusion that Lyft cannot expand output, SCI’s position boils

           19      down to the assertion that “Lyft will not … act as a check on the ability of Uber to charge supra-

           20      competitive prices.” SAC ¶ 92 (emphasis added); see also id. ¶ 12 (“Lyft has not been willing … to

           21      respond to Uber’s price discrimination strategy by expanding its output” (emphasis added)). But

           22      alleging that “the existing competition, while it may be able to challenge [the defendant], lacks the will

           23      to do so” simply “cannot support a claim of monopolization under the Sherman Act.” Rebel Oil, 51

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                        SCI reliance on “‘Lyft’s own financial losses which it must recoup,’” Opp. at 8 (citing SAC ¶ 92),
           27           is (again) unavailing since undercutting a monopoly price with a competitive price does not yield
                        losses but rather achieves both profits and valuable gains in market share (which, as discussed
           28           below, generate further gains due to network effects).
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               1   F.3d at 1448 (original emphasis). This is yet another independent basis for dismissing SCI’s case with

               2   prejudice.

               3           B.      SCI Fails to Plead a Cognizable Probability of Recoupment

               4           “Determining whether a complaint states a plausible claim for relief [is] . . . a context-specific

               5   task that requires the reviewing court to draw on its judicial experience and common sense.” Ashcroft

               6   v. Iqbal, 556 U.S. 662, 679 (2009). As this Court has noted, courts bring “skepticism” to analyzing

               7   predatory pricing claims. Order at 10. Such common-sense skepticism is warranted when the context

               8   involves an allegation that a defendant is dangerously likely to recoup billions in predatory losses when

               9   it has not yet turned a profit after supposedly pricing below average variable cost since 2013. 10

           10      Regardless, SCI’s SAC continues to perpetuate the same untenable theory of oligopoly recoupment on

           11      which its prior complaint foundered. Order at 14-16.

           12               SCI’s theory of recoupment is still one that involves “coordinated action by an oligopoly of

           13      two dominant firms.” Order at 15. There is certainly no question that SCI’s complaint continues to

           14      paint the definitional picture of an oligopoly. “An oligopoly is ‘[a] market condition in which sellers

           15      are so few that the actions of any one of them will materially affect price and hence have a measurable

           16      impact upon competitors.’” Rebel Oil, 146 F.3d at 1091 (citation omitted). Previously, SCI alleged

           17      that “Lyft will follow Uber in setting supracompetitive prices because Lyft, like Uber, has sustained

           18      massive losses from below-cost pricing that it must now recoup.” Order at 15. While SCI’s principal

           19      theory of recouping monopoly profits is now based on passenger-side price discrimination (“dynamic

           20      pricing”), SAC ¶¶ 85, 108, its new complaint still hinges on oligopoly coordination since it pleads that

           21      recoupment will succeed because Lyft will follow Uber in adopting such discriminatory pricing.

           22      Specifically, the SAC alleges that “in response to Uber’s conduct, Lyft is itself implementing a similar

           23      dynamic [discriminatory] pricing model,” SAC ¶ 85 (emphasis added), and that “Lyft’s own adoption

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                        SCI asserts that “Uber has recorded positive EBITDA” since 2018, Opp. at 10, but “positive
           26           EBITDA” is not profit (much less monopoly profit) and SCI alleges “[t]here is no dispute that Uber
                        has and continues to price below cost, however cost may be measured.” SAC ¶ 9. As the Court
           27           previously noted, SCI’s “failure to allege that Uber has in fact set prices at profitable and
                        supracompetitive levels … might call into question the plausibility of allegations that Uber
           28           currently has the power to do so.” Order at 14 n.6.
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               1   of dynamic pricing” and “Lyft’s own financial losses which it must recoup” remove it as “a check on

               2   the ability of Uber to charge supra-competitive prices.” Id. ¶ 92. If this does not allege oligopoly

               3   coordination, nothing could.

               4          These are SCI’s own words, not an “effort to recast Sidecar’s recoupment claim and to ignore

               5   the actual allegations of the Second Amended Complaint.” Opp. at 11. In truth, it is SCI that is ignoring

               6   its own allegations and its counsel’s representation to the Court that SCI could amend to allege that

               7   Lyft would follow any monopoly price hike for fear of “devastating retaliation from Uber.” Order at

               8   15-16. But the premise that a defendant can raise prices in an oligopoly “by making it too painful for

               9   its existing competitors” not to follow is untenable under Section 2. Rebel Oil, 51 F.3d at 1448. Such

           10      a theory rests on oligopoly coordination and ignores the critical “distinction between oligopolistic and

           11      monopolistic practices” and thus fails as a matter of law. Id.

           12              Finally, little need be said about SCI’s fallacious argument that its legally invalid theory of

           13      recoupment can be cured by allegations of supposed intent. The Ninth Circuit has held that “intent

           14      cannot substitute for the required element of recoupment.” Rebel Oil, 146 F.3d at 1097. This is hardly

           15      a rule limited to summary judgment or trial, as SCI suggests. Opp. at 11. “If proof of recoupment is

           16      required to succeed on the claim, allegations of recoupment must appear in the complaint to show an

           17      entitlement to relief.” Energy Conversion v. Trina Solar Ltd., 833 F.3d 680, 688 (6th Cir. 2016)

           18      (original emphasis). SCI’s complaint fails to plead a dangerous probability of recoupment as a matter

           19      of law. Its predatory pricing claim should be dismissed with prejudice.

           20             C.      SCI Fails to Plead an Antitrust Claim for Tortious Interference

           21             SCI’s failure to plead market power or recoupment under Section 2 equally dooms SCI’s

           22      antitrust claim for alleged “tortious interference,” but the claim suffers from independent defects as

           23      well. First, SCI cannot rescue an invalid “tortious interference” theory by combining it with an unsound

           24      predatory pricing claim. Opp. at 11-12 (“Uber’s tortious activities … must be considered in context as

           25      a complement to its predatory scheme.”). “Two wrong claims do not make one that is right.” Pac.

           26      Bell Tele. Co. v. Linkline Commc’ns, Inc., 555 U.S. 438, 457 (2009) (“low prices are only actionable

           27      under the Sherman Act when the prices are below cost and there is a dangerous probability that the

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               1   predator will be able to recoup the profits it loses from the low prices”). A “synergistic” effect cannot

               2   be traced to nonpredatory low prices since a “firm complaining about the harm it suffers from

               3   nonpredatory price competition ‘is really claiming that it [is] unable to raise prices,’” which “is not

               4   antitrust injury.” Atl. Richfield Co. v. USA Petroleum, Inc., 495 U.S. 328, 337-38 (1990) (original

               5   emphasis; citation omitted) ; see also, e.g., Valassis Commc’ns, Inc. v. News Corp., No. 17-cv-7378

               6   (PKC), 2019 WL 802093 at *9-10 (S.D.N.Y. Feb. 21, 2019) (no synergistic effect between invalid

               7   predatory pricing claim and other alleged anticompetitive conduct).

               8           Second, SCI does not acknowledge, much less dispel, the legal presumption that such alleged

               9   conduct has a de minimis effect on competition. See Mot. to Dismiss Second Amended Complaint

           10      (“Mot.” dkt. 76) at 13-14. Even the authorities that SCI cites, Opp. at 12-13, recognize that “[b]usiness

           11      torts will be violative of § 2 only in ‘rare gross cases.’” Conwood Co., L.P. v. U.S. Tobacco Co., 290

           12      F.3d 768, 784 (6th Cir. 2002) (citation omitted). This is not such a case. SCI’s contention that it “need

           13      not identify specific fraudulent ride requests” is a straw man. Opp. at 14. The issue is not identifying

           14      any (much less every) particular request, but rather plausibly pleading a factual basis for showing that

           15      the alleged requests “are so widespread and longstanding and practically incapable of refutation that

           16      they are capable of injuring both consumers and competitors.” Novell, Inc. v. Microsoft Corp., 731

           17      F.3d 1064, 1079-80 (10th Cir. 2013). SCI’s complaint does no such thing, despite having had multiple

           18      opportunities to amend to address this very issue. It devotes just six paragraphs in the SAC to pleading

           19      unsubstantiated conclusions upon “information and belief.” 11 See SAC ¶¶ 114-119. It refuses to allege

           20      which (if more than one) geographic markets were affected. It remains silent as to the percentage of

           21      total ride requests involved, and provides no non-conclusory allegation regarding the timing or

           22      frequency of the alleged requests. It merely claims the “projects” lasted “over a year,” Opp. at 13, but

           23      this is a far cry from the nearly-decade-long campaign of widespread tortious conduct at issue in

           24      Conwood. See 290 F.3d at 784-85 (defendant “continuously removed and discarded Conwood POS

           25      and racks after 1990” and “as much as 50 percent of [plaintiff’s] employees’ time was being spent on

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                        The complaint also includes two paragraphs regarding Sidecar’s terms of service, id. ¶¶ 120-121,
           28           which do not bear on antitrust liability as even SCI concedes. See Opp. at 13 n.5; Mot. at 15 n.13.
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               1   repairing damaged or discarded racks,” with “as many as 20,000 racks a month being replaced”). SCI

               2   does not even claim that the alleged requests excluded any rival from the market. See Opp. at 13 n.6

               3   (“Uber’s actions did not drive Lyft out of the market”); SAC ¶ 148 (“Sidecar was forced out of business

               4   by Uber’s … pricing strategy”). SCI objects that it is “unfair” to ask it to plead the “necessary

               5   evidentiary facts,” Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1047-48 (9th Cir. 2008), because “these

               6   were secretive programs that [Uber] attempted to hide.” Opp. at 13. Yet SCI also avers that these

               7   “secret” projects were “discovered and well-covered by the press.” Id. SCI cannot have it both ways

               8   and, regardless, it cannot evade its burden under F.R.C.P. 9(b) of pleading fraud with particularity. See

               9   Mot. at 13 n.11.

           10             Beyond these failings, SCI’s complaint fails to state a claim given its concession that the alleged

           11      requests “were submitted” with the “goal[] in mind” of “recruit[ing] Drivers to work exclusively with

           12      Uber (instead of its competitors).” SAC ¶ 115; see Mot. at 14-15. SCI has now twice admitted that

           13      this “is a legitimate business justification.” Opp. at 14; Pl.’s Opp. to Defs.’ Mot. to Dismiss [First]

           14      Am. Compl. (dkt. 67) at 17-18; compare Conwood, 290 F.3d at 795 (“Conwood presented sufficient

           15      evidence that [defendant’s] conduct rose above isolated tortious activity and was exclusionary without

           16      a legitimate business justification.” (emphasis added)). It is black letter law that in a Section 2 case,

           17      an “antitrust defendant’s conduct is redeemed by a legitimate business purpose.” Universal Analytics,

           18      Inc. v. MacNeal-Schwendler Corp., 914 F.2d 1256, 1258 (9th Cir. 1990); see also, e.g., Trans Sport,

           19      Inc. v. Starter Sportswear, Inc., 964 F.2d 186, 189 (2d Cir. 1992) (“legitimate business justifications

           20      … prevent a rational trier of fact from finding § 2 liability”) (Marshall, J.). SCI alleges that Uber had

           21      “another purpose” for the alleged requests but even “the desire to maintain market power—even a

           22      monopolist’s market power—cannot create antitrust liability if there was a legitimate business

           23      justification.” Oahu Gas Serv., Inc. v. Pac. Res., Inc., 838 F.2d 360, 368-69 (9th Cir. 1988).

           24             In short, SCI’s Sherman Act Section 2 claims are comprehensively defective and fully warrant

           25      dismissal with prejudice at this time.

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               1           D.     SCI’s Unfair Practices Act Claim Should Be Stricken

               2           SCI concedes that its Unfair Practices Act claim “remains dismissed.” Opp. at 16. It should

               3   accordingly be stricken.

               4   III.    CONCLUSION

               5           For the reasons set forth herein and in its opening motion, Uber respectfully submits that SCI’s

               6   Second Amended Complaint should be dismissed with prejudice.

               7   Dated: March 10, 2020

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